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                             UNITED STATES DISTRICT COURT
                              WESTERN DISTRICT OF TEXAS
                                    AUSTIN DIVISION

UMG RECORDINGS, INC., et al.,                    )
                                                 )
               Plaintiffs,                       )
                                                 )
vs.                                              )
                                                       No. 1:17-cv-00365-LY
                                                 )
GRANDE COMMUNICATIONS                            )
NETWORKS LLC,                                    )
                                                 )
               Defendant.
                                                 )


       ADVISORY IN RESPONSE TO THE COURT’S AUGUST 16, 2018 ORDER

       Pursuant to the Court’s August 16, 2018 Order, Grande Communications Networks LLC

(“Grande”) submits this second status update regarding the parties’ efforts to reach an agreement

on Grande’s requests for financial information regarding revenues generated by the works at

issue in this case. See ECF No. 139 at 1-2. On August 27th, following a previous meet and

confer by telephone, Grande provided a specific proposal for Plaintiffs’ consideration. Plaintiffs

advised that they needed more time to consider the proposal, and so the parties filed a first status

update indicating that they would provide a further report by today, August 31st. See ECF No.

149. Today, Plaintiffs advised that they are still considering Grande’s proposal, and that they

expect to be able to provide a response next week. Accordingly, the parties will provide a

further report no later than September 7, 2018 to inform the Court whether the issue has been

resolved.




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Dated: August 31, 2018.


                                           By: /s/ Richard L. Brophy
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                                CERTIFICATE OF SERVICE

       The undersigned certifies that on August 31, 2018, all counsel of record who are deemed

to have consented to electronic service are being served with a copy of this document via the

Court’s CM/ECF system pursuant to Local Rule CV-5(b)(1).



                                                    /s/ Richard L. Brophy
                                                    Richard L. Brophy




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